 

U.S. DISTRICT COURT
Case 2:19-cr-00079-Z-BR Document 14 Filed 06/18/19 Pagerreickn BagaieiA Or TEXAS

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

 

 

 

AMARILLO DIVISION
UNITED STATES OF AMERICA § CLERK, U.S. DISTRICT COURB, ’
§ By —— 4):
v. § CASE NO.: 2:19-cr-00079-D-BR-1 0 Pers
§
SHANE ANDREW SMITH §

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

SHANE ANDREW SMITH, by consent, under authority of United States v. Dees, 125 F.3d 261 (Sth Cir. 1997),
has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) 1 of the Information
After cautioning and examining SHANE ANDREW SMITH under oath concerning each of the subjects mentioned in Rule
11, I determined that the guilty plea was knowledgeable and voluntary and that the offense(s) charged are supported by an
independent basis in fact containing each of the essential elements of such offense. I therefore recommend that the plea of
guilty be accepted, and that SHANE ANDREW SMITH be adjudged guilty of 18 U.S.C. § 1349 - CONSPIRACY TO
COMMIT WIRE FRAUD and have sentence imposed accordingly. After being found guilty of the offense by the district
judge,

O The defendant is currently in custody and should be ordered to remain in custody.

xe The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
if released.

The Government does not oppose release.

The defendant has been compliant with the current conditions of release.

I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any other
person or the community if released and should therefore be released under § 3142(b) or (c).

The Government opposes release.

The defendant has not been compliant with the conditions of release.

If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
Government.

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O The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there is a
substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing evidence
that the defendant is not likely to flee or pose a danger to any other person or the community if released.

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UNITED STATES MAGISTRATE JUDGE

Date: June 18, 2019

NOTICE
Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its
service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States
District Judge. 28 U.S.C. §636(b)(1)(B).

 

 
